          Case 1:18-cv-01532-DLF Document 9 Filed 01/09/19 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

____________________________________
                                    )
ALEXANDER KHOCHINSKY,               )
                                    )
              Plaintiff,            )
                                    )                Case No. 1:18-cv-01532-DLF
      v.                            )
                                    )
REPUBLIC OF POLAND,                 )
      a foreign state,              )
                                    )
              Defendant.            )
____________________________________)


               STATUS REPORT CONCERNING SERVICE OF PROCESS

       Pursuant to the Court’s November 9, 2018 Minute Order, plaintiff Alexander Khochinsky

(“Plaintiff”) submits this status report with respect to the service of the Summons and Complaint

on Defendant the Republic of Poland (“Poland”). Plaintiff advises the Court as follows:

       As previously reported to the Court in our November 9, 2018 Status Report (ECF 8), we

have confirmation that the Polish Central Authority received our service package (which was

fully compliant with Convention on the Service Abroad of Judicial and Extrajudicial Documents

in Civil or Commercial Matters the “Hague Convention”)) on October 8, 2018.


       Yesterday, the firm Plaintiff hired to effect service, Legal Language Services (“LLS”),

reported to us that it had no new information concerning the status of service. At our prompting,

LLS sent an email directly to the Polish Central Authority to remind it that the service request

was made fully three months ago and to ask if defendant Poland had finally been served. As of

this writing, the Polish Central Authority has not responded.
          Case 1:18-cv-01532-DLF Document 9 Filed 01/09/19 Page 2 of 2




       Under the procedures established by the Hague Convention, Plaintiff must now await

confirmation of service from the Central Authority, the timing of which Plaintiff cannot

influence or control. Plaintiff will promptly notify the Court when that confirmation is received.

As noted previously, there is no time limit on the service of process under Fed. R. Civ. P. 4(j)(1)

for matters in which “[a] foreign state or its political subdivision, agency, or instrumentality must

be served in accordance with 28 U.S.C. §1608,” as is the case here.


Respectfully submitted,


Dated: Boston, Massachusetts
       January 8, 2019                        SULLIVAN & WORCESTER LLP

                                              /s/ Nicholas M. O’Donnell
                                              Nicholas M. O’Donnell
                                              One Post Office Square
                                              Boston, Massachusetts 02109
                                              Telephone: (617) 338-2800
                                              Facsimile: (617) 338-2880
                                              Email: nodonnell@sandw.com
                                              Attorneys Plaintiff Alexander Khochinsky




                                                 2
